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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

x
RODOLFO SOLANO MARTINEZ,
Plaintiff,
18 Civ, 6333 (PAC)
-against-
488 HOSPITALITY GROUP, L.L.C., : OPINION & ORDER
Defendant.
x

 

HONORABLE PAUL A. CROTTY, United States District Judge:

After reviewing Plaintiff's counsel’s billing records, which the Court ordered to be
submitted in the July 25, 2019 order, the Court finds counsel’s fee request of out-of-pocket
litigation costs ($622.53) plus 1/3 contingency fee to be proper and reasonable.

For the reasons stated in the Court’s July 25, 2019 order, the parties’ motion for settlement

approval is GRANTED. The Clerk of Court is directed to close the case.

Dated: New York, New York SO ORDERED
July-4, 2019

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PAUL A. CROTTY |
United States District Judge

 

 
